                                                                               Deleted: Adam E. Polk (SBN 273000)¶
 1                                                                             Jordan Elias (SBN 228731)¶
     Paige M. Tomaselli (SBN 237737)                                           Simon Grille (SBN 294914)¶
 2   Dylan D. Grimes (SBN 302981)                                              Jordan Isern (SBN 343159)¶
     GRIME LAW LLP                                                             GIRARD SHARP LLP ¶
                                                                               601 California Street, Suite 1400 ¶
 3   730 Arizona Avenue                                                        San Francisco, CA 94108 ¶
 4   Santa Monica, CA 90401                                                    Telephone: (415) 981-4800 ¶
                                                                               apolk@girardsharp.com¶
     Telephone: (310) 747-5095                                                 jelias@girardsharp.com¶
 5   ptomaselli@grimelaw.com                                                   sgrille@girardsharp.com¶
                                                                               jisern@girardsharp.com ¶
     dgrimes@grimelaw.com
 6                                                                             Formatted: Indent: Left: 0.05", First line: 0"

 7   Gretchen Elsner (pro hac vice)                                            Moved (insertion) [1]
     ELSNER LAW & POLICY, LLC
 8   314 South Guadalupe Street, Suite 123
                                                                               Moved up [1]: )¶
     Santa Fe, NM 87501                                                        ELSNER LAW & POLICY, LLC¶
 9
     Telephone: (505) 303-0980                                                 314 South Guadalupe Street, Suite 123¶
                                                                               Santa Fe, NM 87501¶
10   gretchen@elsnerlaw.org                                                    Telephone: (505) 303-0980¶
                                                                               gretchen@elsnerlaw.org¶
11   Attorneys for Plaintiffs                                                  Deleted: Gretchen Elsner (pro hac vice forthcoming
12
                          UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14                             SOUTHERN DIVISION
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     SARA SAFARI, PEYMON                      Case No. 8:22-CV-01562-JWH-KES
16   KHAGHANI, on behalf of themselves                                         Deleted: , and JASON ROSE

17   and all others similarly situated, and
     FARM FORWARD, on behalf of the           FIRST AMENDED CLASS
18   general public,                          ACTION COMPLAINT
19                      Plaintiffs,           JURY TRIAL DEMANDED
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20         v.
21   WHOLE FOODS MARKET                                                        Deleted: , INC., a Texas corporation

22   SERVICES, INC., a Delaware
     corporation, WHOLE FOODS
23   MARKET CALIFORNIA, INC., a
     California corporation, MRS.
24   GOOCH’S NATURAL FOOD
     MARKETS, INC. doing business as
25
     Whole Foods Market, a California
26   Corporation,

27                      Defendants.                                            Deleted: Defendant
                                                                               Formatted: Justified
28
                        FIRST AMENDED CLASS ACTION COMPLAINT – 1
                                                                                                     Deleted: , and Jason Rose
 1         Plaintiffs Sara Safari, Peymon Khaghani (“Consumer Plaintiffs”), on behalf of
                                                                                                     Deleted: nonprofit
 2   themselves and all others similarly situated, and public interest organization Plaintiff Farm
 3   Forward (collectively, “Plaintiffs”) file this Class Action Complaint against Whole Foods
                                                                                                     Deleted: . (“
 4   Market Services, Inc.; Whole Foods Market Distribution, Inc.; Whole Foods Market
 5   California, Inc.; Mrs. Gooch’s Natural Food Markets, Inc. (collectively, “Whole Foods”
                                                                                                     Deleted: as follows
 6   or “Defendants”) and allege:
 7                                  NATURE OF THE ACTION
                                                                                                     Formatted: Numbered + Level: 1 + Numbering Style: 1,
 8         1.     This    consumer     fraud    action   concerns    Whole     Foods’    material    2, 3, … + Start at: 1 + Alignment: Left + Aligned at: 0.5"
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 9   misrepresentations and omissions about the use of antibiotics in the beef it sells. Whole
10   Foods markets its beef with the slogan, “No Antibiotics, Ever” and reinforces this
11   promotional message that all its beef is raised antibiotic-free with other similar
12   representations at retail stores, in online marketing, and on product packaging. But, as
13   independent testing has shown, Whole Foods’ claim that it sells only antibiotic-free beef
14   is false. Plaintiffs bring this action to stop Whole Foods’ misleading promotion and sale
                                                                                                     Deleted: , including the products listed in paragraph 40
15   of beef (“Beef Products” or the “Products”), and the Consumer Plaintiffs seek to recover        below…

16   damages for themselves and other purchasers of these Products in California.
                                                                                                     Deleted: nonprofit
17         2.     Plaintiff Farm Forward—a public interest organization seeking to end factory
18   farming—recently found that beef sold by Whole Foods contained antibiotic and other
19   pharmaceutical residue. The presence of this residue demonstrates the cattle were treated
20   with antibiotics or other pharmaceuticals while being raised. Farm Forward seeks
21   injunctive relief through this action.
22         3.     Whole Foods’ internal emails show that its executives rejected the
23   opportunity to investigate the accuracy of its “No Antibiotics, Ever” claims, in part
24   because “the repercussions for having a positive result were beyond ridiculous[.]”
25   Unreceptive to testing cattle in its supply chain, Whole Foods continued promoting its
26   beef products as raised antibiotic-free.
27         4.     What Whole Foods tells consumers about the beef it sells matters. According
28
                          FIRST AMENDED CLASS ACTION COMPLAINT – 2
 1   to Superbugs in Stock: Which Grocery Chains Are Acting to Eliminate Routine Antibiotic
 2   Use in Their Meat Supply, published in October 2022, “Grocery companies are a primary
 3   source of meat products consumed in American households and the main source for
 4   consumers for information about these products....Most U.S. consumers are demanding
 5   meat and poultry raised without the routine use of antibiotics, and 40 percent of consumers
 6   ‘always’ or ‘often’ purchase meat and poultry raised without antibiotics at the
 7   supermarket.” While some companies that sell animal products have policies in place
 8   regarding antibiotics use, “the language in these policies” “can give the public the false
 9   impression that companies have implemented meaningful change when that often is not
10   the case. This type of language is indicative of ‘greenwashing’: making unsubstantiated
11   or misleading claims that lead consumers to believe their products or behaviors are more
12   sustainable or values-based than they actually are.”1
13         5.     Raised without antibiotics marketing claims matter to consumers. According
14   to a 2018 Consumer Reports study, 43% of Americans always or often looked for meat or
15   poultry marketed as “raised without antibiotics.” Six out of 10 consumers were willing to
16   pay more for meat raised without antibiotics. Even four years ago at the time of the study,
17   32% of Americans knew someone who had a bacterial infection where antibiotics were
18   ineffective in curing an illness; 43% of Americans were highly concerned that feeding
19   antibiotics to animals may diminish effectiveness of antibiotics in humans and an
20   additional 34% were somewhat concerned.2
21
22
     1
       Food Animals Concerns Trust and Keep Antibiotics Working et al, Superbugs in Stock:
23   Which grocery chains are acting to eliminate routine antibiotic use in their meat supply?
24   (October 2022) https://www.centerforfoodsafety.org/reports/6741/superbugs-in-stock-
     which-grocery-chains-are-acting-to-eliminate-routine-antibiotic-use-in-their-meat-
25   supply (last visited November 14, 2022).
26   2
      Consumer Reports Survey Group, Natural and Antibiotics Labels Survey 8 (2018),
27
     available at https://advocacy.consumerreports.org/wp-content/uploads/2018/10/2018-
     Natural-and-Antibiotics-Labels-Survey-Public-Report-1.pdf.
28
                         FIRST AMENDED CLASS ACTION COMPLAINT – 3
                                                                                                       Formatted: Numbered + Level: 1 + Numbering Style: 1,
 1         6.     Administering routine or subtherapeutic antibiotics to farmed animals creates        2, 3, … + Start at: 1 + Alignment: Left + Aligned at: 0.5"
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 2   serious health risks. It contributes to the development of antibiotic-resistant bacteria in the
                                                                                                       Formatted: Bullets and Numbering
 3   animals—bacteria that consumers of the meat eventually ingest.3 Once in the human
 4   system, these bacteria can cause infections that cannot be treated with existing antibiotics
 5   because the bacteria is antibiotic-resistant.4
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 6         7.     Consumers overpaid for and were economically harmed as a result of Whole             Numbering Style: 1, 2, 3, … + Start at: 1 + Alignment:
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 7   Foods’ misleading promotion of its Beef Products. Whole Foods charges—and consumers
 8   pay—a substantial price premium for Beef Products based on the claim that the cattle that
 9   become these Products were not given any antibiotics. For instance, Whole Foods charges
10   $31.99 per pound for beef tenderloin steak filet mignon. A traditional retailer charges only
11   $24.99 per pound for the same cut of beef. Thus, Whole Foods marks up the price of this
12   Beef Product by 28% in connection with its antibiotic-free representations. Consumer
13   Plaintiffs would not have purchased Beef Products, or would not have paid the prices they
14   did, had they had known the truth that cattle used in the Products were raised with
15   antibiotics. Furthermore, Consumer Plaintiffs would not have purchased Beef Products, or
16   would not have paid the prices they did, had they known the truth that Whole Foods does
17   not effectively verify its “No Antibiotics, Ever” representation.
                                                                                                       Formatted: Justified, Right: 0", Numbered + Level: 1 +
18         8.     Plaintiffs seek an injunction requiring Whole Foods to correct and clarify its       Numbering Style: 1, 2, 3, … + Start at: 1 + Alignment:
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19   past and ongoing misrepresentations and omissions, and to remove the misrepresentations
20   or, in the alternative, to ensure that Whole Foods’ Beef Products conform with how it
21   markets them. Consumer Plaintiffs, on behalf of the Class, further seek to recover their
22   overpayments for Beef Products due to Whole Foods’ false advertising.
23
24
     3
      Lisa L. Gill, Is Our Meat Safe to Eat?, 87 Consumer Rep. 31, 36 (2022).
25
     4
      Lesley Stahl, Is overuse of antibiotics on farms worsening the spread of antibiotic-
26   resistant bacteria?, CBS News (Jan. 5, 2020), https://www.cbsnews.com/news/is-
27   overuse-of-antibiotics-on-farms-worsening-the-spread-of-antibiotic-resistant-bacteria-
     60-minutes-2020-01-05/.
28
                          FIRST AMENDED CLASS ACTION COMPLAINT – 4
 1                                            PARTIES
                                                                                                     Formatted: Justified
 2         A.     Plaintiffs
 3                                           Sara Safari
                                                                                                     Formatted: Justified, Numbered + Level: 1 +
 4         9.     Plaintiff Sara Safari is a citizen and resident of Tustin, California.             Numbering Style: 1, 2, 3, … + Start at: 9 + Alignment:
                                                                                                     Left + Aligned at: 0.5" + Indent at: 0"
 5         10.    Since approximately 2010 and within the applicable limitations period, Ms.
                                                                                                     Formatted: Bullets and Numbering
 6   Safari has purchased Beef Products at Whole Foods on numerous occasions. She mostly
 7   recently purchased Beef Products from Whole Foods in or around June 2022.
 8         11.    Ms. Safari purchased the Products at Whole Foods’ retail stores, including
 9   its store located at 2847 Park Avenue in Tustin, California.
10         12.    Ms. Safari saw and relied on Whole Foods representations concerning its
11   Beef Products in-store, on its website, in its listings on Amazon, and on the Products’
12   packaging. She saw and relied upon Whole Foods representations from approximately
13   2010 to approximately June 2022, including every time she grocery shopped at Whole
14   Foods. From approximately 2018 to June 2022, Ms. Safari shopped approximately weekly
15   in person at Whole Foods in Tustin and was exposed to and relied on the signs in the
16   Whole Foods meat department promising no antibiotics ever. Ms. Safari saw and relied
17   on Whole Foods’ “No Antibiotics, Ever” and “No antibiotics or added growth hormones,
18   ever” slogans prior to purchasing the Beef Products.
19         13.    Ms. Safari purchased the Beef Products at a premium price because, based
                                                                                                     Deleted: Whole Foods
20   on Whole Foods’ representations, she believed all Beef Products available for sale from
21   Whole Foods were derived from cattle raised without antibiotics or pharmaceuticals.
22   Choosing antibiotic-free meat is important to Ms. Safari because she does not want to fund
23   or support a farming model that uses pharmaceuticals, including antibiotics, as part of
24   raising the animals in crowded, unsanitary conditions. Ms. Safari also does not want to
25   fund or support this farming model because it contributes to the rise of antibiotic-resistant
26   bacteria and may leave pharmaceutical residue in the meat.
27         14.    Whole Foods never disclosed to Ms. Safari that the cattle used in its Beef
28
                         FIRST AMENDED CLASS ACTION COMPLAINT – 5
 1   Products may be raised with antibiotics or that it does not take the necessary steps to ensure
 2   that all Beef Products it sells are raised antibiotic-free.
 3         15.    Had Ms. Safari known that cattle used in Whole Foods Beef Products were
 4   raised with antibiotics, she would not have purchased the Products or would not have paid
 5   what she did for them.
 6                                        Peymon Khaghani
                                                                                                      Formatted: Justified, Numbered + Level: 1 +
 7         16.    Plaintiff Peymon Khaghani is a citizen and resident of Tustin, California.          Numbering Style: 1, 2, 3, … + Start at: 9 + Alignment:
                                                                                                      Left + Aligned at: 0.5" + Indent at: 0"
 8         17.    Since approximately 2010 and within the applicable limitations period, Mr.
                                                                                                      Formatted: Bullets and Numbering
 9   Khaghani has purchased Beef Products at Whole Foods on numerous occasions. He
10   mostly recently purchased Beef Products from Whole Foods in or around June 2022.
11         18.    Mr. Khaghani purchased the Products at Whole Foods’ retail stores,
                                                                                                      Deleted: .
12   including its store located at 2847 Park Avenue in Tustin, California from approximately
13   June 2020 to June 2022. Mr. Khaghani shopped approximately weekly in person at Whole
14   Foods in Tustin and was exposed to and relied on the signs in the Whole Foods meat
15   department promising no antibiotics ever. In spring 2020 and before, Mr. Khaghani
16   purchased the Products from the Whole Foods stores located at 450 Rhode Island Street
17   in San Francisco, 2001 Market Street in San Francisco, and 20955 Stevens Creek
18   Boulevard in Cupertino, California. In those locations, Mr. Khaghani was also exposed to
19   and relied on the signs in the Whole Foods meat department promising no antibiotics ever.
20         19.    Mr. Khaghani saw and relied on Whole Foods representations concerning its
21   Beef Products in-store, on its website, in its listings on Amazon, in emails from Whole
                                                                                                      Deleted: Mr.
22   Foods, and on the Products’ packaging. He saw and relied upon Whole Foods
23   representations from approximately 2010 to approximately June 2022, including every
24   time he grocery shopped at Whole Foods. Mr. Khaghani saw and relied on Whole Foods’
25   “No Antibiotics, Ever” and “No antibiotics or added growth hormones, ever” slogans prior
                                                                                                      Deleted: ..
26   to purchasing the Beef Products.
27         20.    Mr. Khaghani purchased the Beef Products at a premium price because,
28
                          FIRST AMENDED CLASS ACTION COMPLAINT – 6
                                                                                                      Deleted: Whole Foods
 1   based on Whole Foods’ representations, he believed all Beef Products available for sale
 2   from Whole Foods derived from cattle raised without antibiotics or pharmaceuticals.
 3   Choosing antibiotic-free meat is important to Mr. Khaghani because he does not want to
 4   fund or support a farming model that uses pharmaceuticals, including antibiotics, as part
 5   of raising the animals in crowded, unsanitary conditions. Mr. Khaghani also does not want
 6   to fund or support this farming model because it contributes to the rise of antibiotic-
 7   resistant bacteria and may leave pharmaceutical residue in the meat.
 8         21.    Whole Foods never disclosed to Mr. Khaghani that the cattle used in its Beef
 9   Products may be raised with antibiotics or that it does not take the necessary steps to ensure
                                                                                                      Deleted: Jason Rose¶
                                                                                                      Plaintiff Jason Rose is a citizen and resident of Moorpark,
10   that all Beef Products it sells are raised antibiotic-free.                                      California. ¶
                                                                                                      Since 2005 and within the applicable limitations period, Mr.
11         22.    Had Mr. Khaghani known that cattle used in Whole Foods Beef Products                Rose has purchased Beef Products at Whole Foods on
                                                                                                      numerous occasions. He most recently purchased Beef
12   were raised with antibiotics, he would not have purchased the Products or would not have         Products from Whole Foods in or around June 2022. ¶
                                                                                                      Mr. Rose purchased the Products at Whole Foods’ retail
13   paid what he did for them.                                                                       stores, including its store located at 740 N. Moorpark Road
                                                                                                      in Thousand Oaks, California.¶
                                                                                                      Mr. Rose saw and relied on Whole Foods representations
14                                          Farm Forward                                              concerning its Beef Products in-store and on the Products’
                                                                                                      packaging. Mr. Rose saw and relied on Whole Foods’ “No
15         23.    Plaintiff Farm Forward is a national public interest animal protection              Antibiotics, Ever” slogan prior to purchasing the Beef
                                                                                                      Products.¶
16   organization founded in 2007 and recognized by the IRS as a § 501(c)(3) tax-exempt               Mr. Rose purchased the Beef Products at a premium price
                                                                                                      because, based on Whole Foods’ representations, he believed
                                                                                                      all Whole Foods Beef Products derived from cattle raised
17   entity. Farm Forward’s principal place of business is in Portland, Oregon. It has more than      without antibiotics or pharmaceuticals. Choosing antibiotic-
                                                                                                      free meat is important to Mr. Rose because he does not want
18   60,000 supporters across the world, with over 33,000 followers on social media. Farm             to fund or support a farming model that uses pharmaceuticals
                                                                                                      as part of raising the animals in crowded, unsanitary
19   Forward’s mission is to end factory farming. It has approximately 75 to 150 supporters in        conditions. Mr. Rose also does not want to fund or support
                                                                                                      this farming model because it contributes to the rise of
                                                                                                      antibiotic-resistant bacteria and may leave pharmaceutical
20   Orange County.                                                                                   residue in the meat.¶
                                                                                                      Whole Foods never disclosed to Mr. Rose that the cattle used
21                                                                                                    in its Beef Products are raised with antibiotics or that it does
                                                                                                      not take the necessary steps to ensure that all Beef Products
22         B.     Defendants                                                                          it sells are antibiotic-free.¶
                                                                                                      Had Mr. Rose known that cattle used in Whole Foods Beef
                                                                                                      Products were raised with antibiotics, he would not have
23                               Whole Foods Market Services, Inc.                                    purchased the Products or would not have paid what he did
                                                                                                      for them. ¶
24         24.    Defendant Whole Foods Market Services, Inc. (“WFM Services”) is a
                                                                                                      Formatted: Font color: Black, Expanded by 0.25 pt
25   corporation organized and existing under the laws of the State of Delaware with its              Formatted: Font color: Black, Expanded by 0.25 pt
                                                                                                      Formatted: Justified, Indent: First line: 0.5", No bullets
26   principal place of business in Austin, Texas. WFM Services is responsible for the content        or numbering
27   and the design of Whole Foods’ website and actively or constructively knows that the             Formatted: Bullets and Numbering
                                                                                                      Moved (insertion) [2]
28
                          FIRST AMENDED CLASS ACTION COMPLAINT – 7
 1   website directs California customers to Whole Foods’s California stores, shows California
 2   customers local sales specific to their California stores, shows California customers
 3   listings for Whole Foods’ products, including the Beef Products marketed as “No
 4   Antibiotics, Ever,” and allows California customers to purchase those Products online.
 5   WFM Services distributes and sells products, and provides products and services to
 6   customers in California when they visit a Whole Foods’ website, use a Whole Foods or
 7   Amazon mobile device app, or visit a store.
 8                             Whole Foods Market California, Inc.
                                                                                                   Moved up [2]: <#>Farm Forward’s mission is to end
 9         25.     Defendant Whole Foods Market California, Inc. is a corporation organized        factory farming.
                                                                                                   Deleted: <#>It has approximately 75 to 150 supporters and
10   and existing under the laws of the state of California. Its principal place of business and   followers in Orange County. ¶
                                                                                                   Defendant¶
11   headquarters is maintained at 6401 Hollis Street, Emeryville, California.
                                                                                                   Deleted: <#>Texas
12         26.     Whole Foods Market California, Inc. owns and operates Whole Foods stores        Deleted: <#>550 Bowie
                                                                                                   Deleted: <#>in Austin, Texas
13   in Northern California and sells the Products in its retail stores throughout northern
                                                                                                   Deleted: Whole Foods
14   California.
15                           Mrs. Gooch’s Natural Food Market, Inc.
16         27.     Defendant Mrs. Gooch’s Natural Food Markets, Inc. is a corporation
17   organized and existing under the laws of the state of California. Its principal place of
18   business and headquarters is maintained at 207 Goode Avenue, Glendale, California.
                                                                                                   Formatted: Justified, Numbered + Level: 1 +
19         28.     Mrs. Gooch’s Natural Food Markets, Inc., doing business as Whole Foods          Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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20   Market, owns and operates Whole Foods stores in the Southern Pacific Region, which
                                                                                                   Formatted: Bullets and Numbering
21   includes Orange County. Mrs. Gooch’s Natural Foods Market, Inc. sells the Products in
22   its retail stores throughout Southern California.
23                                JURISDICTION AND VENUE
                                                                                                   Formatted: Justified, Numbered + Level: 1 +
24         29.     This Court has jurisdiction over this lawsuit under the Class Action Fairness   Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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25   Act, 28 U.S.C. § 1332, because this is a proposed class action in which: (1) there are at
                                                                                                   Formatted: Bullets and Numbering
26   least 100 class members; (2) the combined claims of class members exceed $5,000,000,
27   exclusive of interest, attorneys’ fees, and costs; and (3) Plaintiffs and Defendant Whole
28
                          FIRST AMENDED CLASS ACTION COMPLAINT – 8
 1   Foods are domiciled in different states.
 2         30.    This Court has personal jurisdiction over Whole Foods because the relevant
 3   transactions with Whole Foods giving rise to Plaintiffs’ claims occurred in California, and
 4   Whole Foods has sufficient minimum contacts in California to render the exercise of
 5   jurisdiction by this Court proper. Additionally, the representations and omissions at issue
 6   were directed to California residents. Many of the relevant representations and
 7   omissions—and the transactions made based on those representations and omissions—
 8   occurred in Whole Foods’ California stores, were made directly to California residents via
 9   online marketing, and involved Beef Products purchases in California.
10         31.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a
11   substantial part of the events or omissions giving rise to the claims occurred in this District.
12                                  FACTUAL ALLEGATIONS
                                                                                                        Formatted: Justified
13         A.     Consumer Demand for Antibiotic-Free Meat
                                                                                                        Formatted: Justified, Numbered + Level: 1 +
14         32.    In recent years, transparency about animal welfare and the administration of          Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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15   antibiotics to animals has become increasingly important to meat consumers. According
                                                                                                        Formatted: Bullets and Numbering
16   to a 2018 study by the Food Marketing Institute, “‘[r]aised in the U.S.’ and ‘antibiotic-
17   free’ are the two most requested items for expanded assortment at the primary meat
18   store.”5 The same study found that, at the same time that conventional meat sales had
19   decreased, “meat with special production claims, such as organic, grass-fed or antibiotic-
20   free, had dollar gains of 25.9 percent and volume growth of 38.3 percent over 2017.6
21   Nearly two-thirds of shoppers who have seen a claim of “antibiotic-free,” “hormone-free”
22   or “humanely-raised” are more likely to buy the advertised item instead of a conventional
23   counterpart.7 Consumers, who do not have the expertise to know what pharmaceuticals
24   are used to raise animals for meat, generally understand “no antibiotics” and “no
25
     5
26     Power of Meat, Food Marketing Institute, 2018, at 5.
     6
       Id.
27
     7
       Id. at 5, 48.
28
                          FIRST AMENDED CLASS ACTION COMPLAINT – 9
 1   hormones”     representations    to   communicate      that   no   routine,   subtherapeutic
 2   pharmaceuticals of any kind were used to raise the animals and that no pharmaceutical
 3   residues of any kind could remain in the meat.
 4         33.    The use of antibiotics in animal farming contributes to the development of
 5   antibiotic-resistant bacteria, which can infect humans.8 Infection can occur in several
 6   ways,9 but most relevant here, it can happen by consuming or handling meat.10 Giving
 7   animals antibiotics contributes to the development of antibiotic-resistant bacteria. People
 8   then ingest the bacteria along with the meat, and the bacteria can cause infections. Many
 9   of these infections cannot be effectively treated with existing antibiotics because the
10   bacteria are already antibiotic-resistant.11
11         34.    The use of antibiotics is also indicative of animal mistreatment. As Farm
12   Forward has noted elsewhere, “[d]ue to their poor genetic health and the crowded
13   conditions in which they’re confined, animals on factory farms are often given drugs in
14   subtherapeutic doses to promote growth and keep them alive in conditions that would
15
16
     8
17      See Antibiotic Resistance: Understanding the Connection to Antibiotic Use In Animals
     Raised for Food, Mayoclinic.org, https://www.mayoclinic.org/diseases-
18   conditions/infectious-diseases/in-depth/antibiotic-resistance/art-
19   20135516#:~:text=cause%20untreatable%20infections.-
     ,Antibiotic%20resistance%3A%20Understanding%20the%20connection%20to%20antib
20   iotic%20use%20in%20animals,These%20may%20cause%20untreatable%20infections
21   (last visited Aug. 9, 2022); Christy Manyi-Loh et al., Antibiotic Use in Agriculture and
     Its Consequential Resistance in Environmental Sources: Potential Public Health
22   Implications, 233 Molecules 795, 796 (2018), available at
23   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6017557/.
     9
24
        Gill, supra note 1, at 36 (noting antibiotic-resistant bacteria can also spread through the
     air, water, insects, farmworkers, and soil).
25   10
        Vangelis Economou, & Panagiota Gousia, Agriculture and Food Animals as a Source
26   of Antimicrobial-Resistant Bacteria, 8 Infect Drug Resist 49-61 (2015), available at
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4388096/.
27
     11
         Stahl, supra note 2.
28
                         FIRST AMENDED CLASS ACTION COMPLAINT – 10
 1   otherwise stunt their growth and even kill them.”12 Therefore, the use of antibiotics in
 2   meat goes hand-in-hand with poor animal welfare standards. And animal welfare, too, is
 3   of increasing importance to meat consumers. According to a 2017 Hartman’s Group
 4   survey, 71% of respondents agreed that “when making purchasing decisions, it’s
 5   important the company avoids inhumane treatment of animals,” and one of the top animal
 6   welfare practices that increase the likelihood of purchases is that the “animals [are] not
 7   given antibiotics/hormones.”13 In 2018, another survey found that “[t]hree-fourths of
 8   consumers say that they would be likely to switch to meat, eggs and dairy products with
 9   labels that guarantee that the products came from farm animals who were raised according
10   to higher animal welfare standards. This finding extends across demographics, including
11   gender, age, and race.”14 In 2020, a public opinion poll found that “[t]he vast majority
12   (89%) of Americans are concerned about industrial animal agriculture, citing animal
13   welfare, worker safety or public health risks as a concern.”15
14         35.    Buying antibiotic-free meat and meat derived from appropriately treated
15
16   12
        Ben Goldsmith, The Drugs Farm Forward Found Hiding in Your Meat, Farm Forward
17   (April 13, 2022), https://www.farmforward.com/#!/blog?blogid=the-drugs-farm-
     forward-found-hiding-in-your-meat; see also Stacy Sneeringer et al., Economics of
18   Antibiotic Use in U.S. Livestock Production 31–36 (2015), available at
19   https://www.ers.usda.gov/webdocs/publications/45485/err-200.pdf?v=0.
     13
20
        Ginger Schleuter, 2017 Study Finds Consumer Familiarity With Sustainability
     Reached All-Time High, Natural Products Insider,
21   https://www.naturalproductsinsider.com/sustainability/2017-study-finds-consumer-
22
     familiarity-sustainability-reached-all-time-high (last visited Aug. 3, 2022).
     14
        Lake Research Partners, Results from a Survey of American Consumers, ASPCA,
23
     https://www.aspca.org/sites/default/files/aspca-
24   2018_animal_welfare_labelling_and_consumer_concern_survey.pdf (last visited Aug. 9,
     2022).
25
     15
        Email from Bob Meadow & Meryl O’Bryan, Lake Rsch. Partners (Feb. 1, 2019),
26   available at
27   https://www.aspca.org/sites/default/files/impact_on_public_attitudes_toward_industrial_
     animal_agriculture-final-111120.pdf.
28
                        FIRST AMENDED CLASS ACTION COMPLAINT – 11
 1   animals is sufficiently important to American consumers that they are willing to pay a       Formatted: Justified
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 2   premium price for it. One study, for example, concluded that the price premium is 20% or     2, 3, … + Start at: 24 + Alignment: Left + Aligned at:
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 3   more for meat raised without antibiotics than conventional counterparts.16                   Formatted: Bullets and Numbering

 4         36.    Beginning in 2002, Whole Foods launched a promotional campaign                  Deleted: ”— include, but are not limited to, the following:
                                                                                                         Deleted: <#>Beef Ribeye Steak¶
 5   marketing its beef as having “No Antibiotics, Ever.”17 The reality is starkly different:            Boneless Beef New York Strip Steak¶
                                                                                                         Beef Tenderloin Steak (Filet Mignon)¶
 6   Whole Foods sold Beef Products without taking effective measures to ensure that they                Ground Beef 90% Lean / 10% Fat¶
                                                                                                         Boneless Beef Chuck Roast¶
 7   came from cattle raised without antibiotics.18                                                      Ground Beef 80% Lean / 20% Fat¶
                                                                                                         Beef Top Sirloin Steak¶
                                                                                                         Lean Beef Chuck Stew Meat¶
 8         B.     Whole Foods’ Beef Products                                                             Bone-In Beef Short Ribs¶
                                                                                                         Boneless Ribeye Steak¶
 9         37.    Whole Foods’ Beef Products—all of which are marketed with the prominent                Organic Ground Beef 85% Lean / 15% Fat¶
                                                                                                         Beef Flank Steak¶
10   slogans “[n]o antibiotics or added growth hormones, ever” or “No Antibiotics, Ever.”19              Organic Boneless Beef Ribeye Steak¶
                                                                                                         Beef Sirloin Flap Steak¶
                                                                                                         Beef Tri Tip Roast¶
11         38.    Whole Foods also prominently advertises on its website:                                Bone In Flanken Style Beef Short Ribs¶
                                                                                                         Beef Porterhouse Steak¶
12         When you walk in our doors, you’ll find vibrant stacks of produce, animal                     Packaged Sliced Lunchmeat, Bologna – Beef
                                                                                                         Uncured¶
           welfare rated meat, Responsibly Farmed and sustainable wild-caught seafood                    Plain Roast Beef¶
13         and body care products with ingredients you can trust. That’s because we have                 Bone-In Beef Ribeye Steak¶
           experienced team members who help make it all possible. They partner with                     Organic Beef Bones¶
14         farmers and suppliers and carefully vet our products to make sure they meet                   Boneless Beef Chuck Steak¶
           our high standards by researching ingredients, reading labels and auditing                    Eel River Organic Ground Beef 85% Lean/15% Fat¶
15         sourcing practices — all to make shopping easier for you. Remember, if 20     it              Country Natural Beef Ground Beef¶
           doesn’t      meet     our      standards,     we       don’t      sell    it.                 Eel River Organic Beef Organic Grass-fed Ground
16                                                                                                       Beef 93/7¶
                                                                                                         Country Natural Beef Ground Beef 80% Lean/ 20%
                                                                                                         Fat¶
17         39.    Whole Foods sells and has sold, during the applicable statute of limitations,          Honest Dogs with Pasture-Raised Beef¶
                                                                                                         Herb Crusted Roast Beef¶
18                                                                                                       Rao’s Meatballs & Sauce¶
                                                                                                         Eel River Organic Beef Ribeye Steak Bnls Retail Grs
19                                                                                                       Organic S4¶
     16
        Lance Price et al., Policy Reforms for Antibiotic Use Claims In Livestock, 376 Science           365 by
20   130 (Supp. 2022), available at https://www.science.org/doi/10.1126/science.abj1823.                 Deleted: <#>Market Packaged Sliced Lunchmeat,
                                                                                                         Bologna – Beef Uncured
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21      See Whole Foods Market Quality Standards: Select Milestones, Whole Foods Market,          Formatted: Font: Calibri, 10 pt, Font color: Black
     https://d39w7f4ix9f5s9.cloudfront.net/ea/2d/171463694419b8abc050017e4255/wfm-
22                                                                                                       Deleted: <#>Beef Oxtail¶
     timeline-4.pdf (last visited July 12, 2022).                                                        365 by Whole Foods Market Sliced Roast Beef¶
     18                                                                                                  Diestel Turkey Ranch Beef Pastrami¶
23      See Andrew deCoriolis, Farm Forward Finds Drugs in Certified Meat at Whole                       Diestel Turkey Ranch Seasoned Uncured Beef
     Foods, Farm Forward (Apr. 4, 2022), https://www.farmforward.com/#!/blog/farm-                       Pastrami¶
24                                                                                                       Wellshire Farms Beef Bologna¶
     forward-finds-drugs-in-certified-meat-at-whole-foods/farm-forward.                                  Diestel Turkey Ranch Roast Beef¶
25   19                                                                                                  Wild Planet Organic No Salt Added Shredded Beef
        See Beef, Whole Foods Market,                                                                    Pouch¶                                       ... [1]
26   https://www.wholefoodsmarket.com/products/meat/beef, (last visited July 12, 2022).           Formatted: Justified, Numbered + Level: 1 +
     20                                                                                           Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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        Core Values, Whole Foods Market, https://www.wholefoodsmarket.com/mission-                Left + Aligned at: 0.5" + Indent at: 0"
     values/core-values (last visited November 28, 2022).                                         Formatted: Bullets and Numbering
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 12
 1   its Beef Products in California. The Products are available for purchase at Whole Foods
                                                                                                 Deleted: and in most other states
 2   stores and online in California.
 3         40.    Whole Foods markets and advertises its Products in California and
 4   nationwide. It reaches consumers through, among other marketing channels, in-store
 5   signage, television advertising, print advertising, email marketing, and online marketing
 6   including on Google, Facebook, YouTube, Twitter, Amazon Prime, and its own website
 7   and blog.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 13
                                                                                               Formatted: Justified, Indent: First line: 0.5", No bullets
 1           Whole Foods’ “No Antibiotics, Ever” Advertising Misleadingly Communicates         or numbering

 2   That Its Beef Products Come from Cattle Raised Without Antibiotics or Other
 3   Pharmaceuticals
                                                                                               Formatted: Justified, Numbered + Level: 1 +
 4           41.    Whole Foods has had a formal policy of “[n]o antibiotics ever and animal   Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 5   welfare standards in [its] meat department” since 2002. 21 Since 1981, no “antibiotics
                                                                                               Formatted: Bullets and Numbering
 6   [were] allowed for [its] meat department.”22
 7           42.    Whole Foods promotes “No Antibiotics, Ever” through a widespread
 8   campaign in stores and online shopping outlets, as well as on its website, blog,
 9   packaging, and online and television advertisements. “No Antibiotics, Ever” is
10   prominently displayed in Whole Foods stores throughout California. “No Antibiotics,
11   Ever” appears, for example, on in-store signage above or near Whole Foods meat
12   departments as well as on the packaging for certain Products and napkins given out to
13   customers:
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          See Whole Foods Market Quality Standards: Select Milestones, supra note 15.
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          See id.
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                          FIRST AMENDED CLASS ACTION COMPLAINT – 14
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11         43.    A similar slogan appears on Whole Foods’ Amazon listings. As shown                   Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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12   below, next to each Beef Product on the Amazon website, the prospective purchaser sees:
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13   “No added growth hormones or antibiotics, ever.”
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           44.    Similarly, on its own website, Whole Foods states that a “baseline standard[]”
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     for the meat it sells is “[n]o antibiotics ever. If an animal needs antibiotic treatment, it is
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 15
 1   separated from those bought by [its] meat department.”23
 2         45.   On its blog, Whole Foods promotes “No Antibiotics, Ever” in its meat with
                                                                                                  Deleted: Ever[,]” “Our Meat: No Antibiotics
 3   posts entitled, for instance, “Our Meat: No Antibiotics, Ever[,]” “What Makes Our Meat
 4   Different[,]” and “Whole Foods Market: no antibiotics in meat departments[.]”24 These
 5   blog posts specifically mention Whole Foods’ Beef Products. For example, the “Our Meat:
 6   No Antibiotics Ever” post depicts cattle underneath the emphatic caption, “At Whole
 7   Foods Market: No Antibiotics EVER is our standard[,]” and proceeds to tout “the best-
 8   tasting beef, pork and poultry you’ll find in a grocery store and no antibiotics, EVER!”25
 9   After repeatedly promising consumers, “No Antibiotics, Ever,” Defendants also promise
10   consumers, “If it doesn’t meet our standards, we won’t sell it,” misleading consumers into
11   thinking that Defendants have verified supplier compliance with its standard.26
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     23
17      See Meat Department Quality Standards, Whole Foods Market,
     https://www.wholefoodsmarket.com/quality-standards/meat-standards, (last visited July
18   12, 2022).
     24
19      See A.C. Gallo, Our Meat: No Antibiotics, Ever, Whole Foods Market (Jun. 25, 2012),
     https://www.wholefoodsmarket.com/tips-and-ideas/archive/our-meat-no-antibiotics-
20
     ever-0; Liz Fry, Our Meat: No Antibiotics, Ever, Whole Foods Market (Apr. 29, 2015),
21   https://www.wholefoodsmarket.com/tips-and-ideas/archive/our-meat-no-antibiotics-
     ever; Theo Weening, What Makes Our Meat Different, Whole Foods Market (Feb. 10,
22
     2011), https://www.wholefoodsmarket.com/tips-and-ideas/archive/what-makes-our-
23   meat-different; Whole Foods Market: no antibiotics in meat departments, Whole Foods
     Market (Apr. 18, 2011), https://media.wholefoodsmarket.com/whole-foods-market-no-
24
     antibiotics-in-meat-departments.
25   25
        See Gallo, supra note 21 (emphasis in original).
26   26
        See Meat Department Quality Standards, Whole Foods Market,
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     https://www.wholefoodsmarket.com/quality-standards/meat-standards, (last visited
     November 15, 2022).
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 16
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22         46.   Whole Foods’ “No Antibiotics, Ever” promotional campaign also appears in         Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
                                                                                                  Left + Aligned at: 0.5" + Indent at: 0"
23   television and online video advertisements. For instance, in one television advertisement,
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24   Whole Foods prominently displays imagery of beef and cattle and its “No Antibiotics,
25   Ever” slogan, while the viewer hears a rhyming slogan: “[a]t Whole Foods Market, we
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 17
 1   raise our meat right with show-stopping taste in every bite.”27
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           47.    Whole Foods’ dissemination of “No Antibiotics, Ever” and related                 Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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                                                                                                   Left + Aligned at: 0.5" + Indent at: 0"
     advertisements gives reasonable consumers the false impression that the Beef Products
15                                                                                                 Formatted: Bullets and Numbering
     were raised without antibiotics.
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           48.    Consumers understand antibiotic-free labeling to mean that the cattle used in
17
     the meat were raised without antibiotics or other pharmaceuticals. In a 2018 Consumer
18
     Reports study of 1,014 Americans, “when given a list of criteria for a label claim
19
     referencing ‘no antibiotics’ on meat or poultry,” over three-quarters said “no antibiotics”
20
     should mean “no antibiotics were administered to a healthy animal” and two-thirds said it
21
     should mean “no antibiotics were administered to the animal under any circumstances.”28
22

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     27
        Whole Foods Market TV Spot, ‘Where it Starts,’ ispot.tv (Aug. 17, 2020),
25
     https://www.ispot.tv/ad/nxX8/whole-foods-market-where-it-starts.
26   28
        Consumer Reports Survey Group, Natural and Antibiotics Labels Survey 8 (2018),
27   available at https://advocacy.consumerreports.org/wp-content/uploads/2018/10/2018-
     Natural-and-Antibiotics-Labels-Survey-Public-Report-1.pdf.
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 18
                                                                                                    Formatted: Justified
 1          C.    Whole Foods’ “Animal Welfare Certified” Representation on Beef
 2                Product Packaging Reinforces Its “No Antibiotics, Ever” Promotional
 3                Campaign
                                                                                                    Formatted: Justified, Right: 0", Numbered + Level: 1 +
 4          49.   Whole Foods also represents that its Beef Products are “Animal Welfare            Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 5   Certified” on the Products themselves, as at the bottom of the following ribeye steak
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 6   label:29
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            50.   “Animal welfare certified” is a label developed by the Global Animal              Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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     Partnership (“GAP”), a standards-setting group for farmed animals. While GAP
21   recognizes different tiers of certification,30 any GAP certification is supposed to mean the
22   animals were “raised without the use of antibiotics[.]”31 Given this standard and the
23   common understanding of “animal welfare,” Whole Foods’ “Animal Welfare Certified”
24
25   29
        Meat Department Quality Standards, supra note 20.
     30
26      See id.
     31
27      See Global Animal Partnership Homepage, https://globalanimalpartnership.org/ (last
     visited July 12, 2022).
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 19
 1   label reinforces to reasonable consumers that the Beef Product was raised with higher
 2   animal welfare standards, without antibiotics or other pharmaceuticals.
 3         51.    In approximately 2007, Whole Foods’ CEO formed GAP. Farm Forward’s
 4   Board Chair32 joined GAP’s founding Board of Directors, and Farm Forward
 5   representatives continued to serve on GAP’s Board until 2020. During that decade, Farm
 6   Forward worked with GAP, and by extension Whole Foods, in an effort to improve animal
 7   welfare standards through multi-level standards development, standards application, and
 8   standards verification across the meat supply chain.
 9         52.    Whole Foods was integral to creating GAP and its standards: Whole Foods
10   employees provided staff support to GAP, and Whole Foods employees served on GAP’s
11   Board. Whole Foods thus influenced the GAP standards that would be used to certify meat
12   sold by Whole Foods. Whole Foods maintains close control over GAP to this day: GAP’s
13   executive director is Whole Foods’ Executive Leader of Meat and Poultry.
14         53.    GAP developed a six-tier rating system (1, 2, 3, 4, 5 and 5+ ratings), with a
15   “1” rating denoting “No Cages, No Crates, No Crowding” and each step up from there
16   denoting additional animal welfare measures. Products certified to meet GAP standards
17   are often marketed as “Animal Welfare Certified”—branding language developed by
18   GAP, at the insistence of Whole Foods’ suppliers whose products could not qualify for
19   the higher GAP tiers, to identify products that meet at least level 1 of the rating system.
20         54.    “GAP certified meat” and “Animal Welfare Certified” meat describe the
21   same products and are used interchangeably by GAP and Whole Foods.
22         55.    GAP/Animal Welfare Certified meat is sold throughout Whole Foods’ stores.
23   The products are advertised as GAP/Animal Welfare Certified, via in store signage, online
24   advertising, circulars, and on the package itself. Consumers pay more for Products that
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26   32
       Farm Forward’s Board Chair originally joined GAP’s Board of Directors as a
27   representative of a different animal protection organization, and continued serving on
     GAP’s Board as Farm Forward’s representative.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 20
 1   are GAP Animal Welfare Certified, in part because administering antibiotics to animals
 2   marketed under GAP’s Animal Welfare Certified program is strictly prohibited.
 3            56.   As detailed below, Farm Forward’s product testing revealed that Whole
 4   Foods’ Beef Products contain pharmaceutical, including antibiotic, residue. And cattle
 5   raised with routine, subtherapeutic antibiotics are typically not raised with higher animal
 6   welfare standards. Hence, Whole Foods’ “Animal Welfare Certified” label is actually false
 7   and misleads prospective purchasers, in tandem with Whole Foods’ “No Antibiotics,
                                                                                                       Deleted: meat comes from antibiotic-free
 8   Ever” marketing, to think that the cattle were raised without the use of antibiotics. As a
 9   result of this deception, Whole Foods is able to sell more Beef Products and at higher
10   prices.
11            57.   Even consumers unfamiliar with GAP interpret the “Animal Welfare
12   Certified” label as meaning the Beef Product was raised without antibiotics or other
13   pharmaceuticals. According to a 2017 Hartman’s Group survey, 71% of respondents said
14   that “when making purchasing decisions, it’s important the company avoids inhumane
15   treatment of animals,” and one of the top welfare practices making a purchase more likely
16   is that the “animals [are] not given antibiotics/hormones.”33 In short, a reasonable
17   consumer upon seeing Whole Foods’ “Animal Welfare Certified” label—particularly in
18   combination with its “No Antibiotics, Ever” advertising—is left with the false impression
19   that the Beef Product was raised without antibiotics or other pharmaceuticals.
                                                                                                       Formatted: Justified
20            D.    Whole Foods’ Beef Products Tested Positive for Antibiotics and Other
21                  Pharmaceuticals
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22            58.   Testing has shown that Whole Foods’ Beef Products are not reliably                 Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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23   antibiotic-free. Whole Foods’ failure to verify its claims and disclose that cattle used in its
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24   Beef Products were administered antibiotics is false, misleading, and contrary to its
25   pervasive “No Antibiotics, Ever” promotional campaign and “Animal Welfare Certified”
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          Schleuter, supra note 11.
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                           FIRST AMENDED CLASS ACTION COMPLAINT – 21
 1   representation.
 2         59.    In 2021 and 2022, Farm Forward tested samples of meat products purchased
 3   at six different Whole Foods locations in San Francisco, Virginia, Chicago, and Salt Lake
 4   City. This chemical testing revealed the presence of pharmaceutical residue, including
 5   antibiotic residue, in the Beef Products.
 6         60.    Farm Forward tested the meat products using two different independent
 7   laboratories. One laboratory found monensin sodium, an antibiotic, in a Beef Product
 8   marketed as GAP Step 4 and USDA Certified Organic, and purchased from Whole Foods
 9   in San Francisco. Monensin sodium is marketed as a growth-promoting pharmaceutical.34
10         61.    Another laboratory found fenbendazole, an antiparasitic pharmaceutical, in
11   five Beef Product samples purchased from Whole Foods in Salt Lake City and Chicago.
                                                                                                    Deleted: ;
12   All five Beef Product samples were marketed as GAP certified and four of these Beef
                                                                                                    Deleted: ; and three of the Beef Products were marketed as
13   Products were marketed as GAP Step 4.                                                          pasture-raised

14         62.    These laboratory results are consistent with the results of other tests
15   performed on purported “antibiotic-free” cattle. For example, Food In-Depth (“FoodID”)
16   tested 699 head of cattle at a slaughterhouse that processes “raised without antibiotics”
17   cattle. All cattle in the study were eligible to be marketed as “No Antibiotics, Ever” and a
18   subset of these cattle also were part of the GAP Animal Welfare Certified program.35
19   FoodID’s sample size represented approximately 12% of the U.S. “raised without
20   antibiotics” market during the testing period (38,219 cattle were in the study; 699 cattle
21   were tested). FoodID tested cattle urine over a seven-month period in 2020. An average
22   of two animals from each lot were tested. Given the “raised without antibiotics” claims,
23   FoodID stated that “the prevalence of animals testing positive for antibiotics was expected
24   to be zero. Thus, any animal[] testing positive would indicate a deviation from RWA
25
     34
26      RumensinTM 100 Premix, Elanco, https://www.elanco.com.au/products-services/dairy-
     cattle/products/dairy-rumensin (last visited August 14, 2022).
27
     35
        Price, supra note 14, at 131.
28
                         FIRST AMENDED CLASS ACTION COMPLAINT – 22
 1   [raised without antibiotics] protocols and both animals testing positive from a lot would
 2   suggest a systemic problem.”36 FoodID found that:
                                                                                                     Formatted: Justified, Indent: Left: 0", First line: 1",
 3                a.     42% of feedyards providing “raised without antibiotics” cattle had at       Numbered + Level: 2 + Numbering Style: a, b, c, … +
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 4   least one animal test positive for antibiotics.37                                               Indent at: -0.44"

 5                b.     Approximately 15% of the “raised without antibiotics” cattle
 6   processed at the slaughterhouse came from a lot that tested positive for antibiotics.38
 7                c.     Approximately 26% of the GAP certified cattle came from a lot where
 8   at least one animal tested positive for antibiotics, and 22% of the GAP certified cattle came
 9   from a lot where both of the two animals tested positive for antibiotics.39
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10         63.    The results of FoodID’s testing indicate that at least one out of every five       Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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11   GAP certified head of cattle had been treated with antibiotics. FoodID published this study
                                                                                                     Formatted: Bullets and Numbering
12   in a peer-reviewed journal article in Science on April 8, 2022.
13         64.     In August 2022, Consumer Reports published a study where it tested 351
14   packages of ground meat and found “deadly bacteria in ground beef” resistant to at least
15   one antibiotic.40 As part of the study, Consumer Reports also purchased 75 packages of
16   ground chicken from Whole Foods and other stores. The testing showed that four of nine
17   packages of Whole Foods ground chicken contained salmonella resistant to at least one
18   antibiotic.41 The presence of antibiotic-resistant bacteria in meat or poultry may be a sign
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     36
        Id.
21   37
        Id.; see also Laura Reiley, Some Beef ‘Raised Without Antibiotics’ Tests Positive for
22   Antibiotics in Study, Washington Post (Apr. 7, 2022),
     https://www.washingtonpost.com/business/2022/04/07/antibiotics-found-in-natural-
23
     meat/.
24   38
        Price, supra note 14, at 131.
25   39
        Lance Price et al., Policy Reforms for Antibiotic Use Claims In Livestock, 376 Science
26   (Supp. 2022), available at https://www.science.org/doi/10.1126/science.abj1823.
     40
        Gill, supra note 1, at 31.
27
     41
        Id. at 36–37.
28
                         FIRST AMENDED CLASS ACTION COMPLAINT – 23
 1   that antibiotics were used in raising the animals.42
 2         65.    The U.S. Department of Agriculture (USDA), Office of Inspector General
 3   (OIG) investigated its label review process and concluded that inaccurate labels are in
 4   commerce. The June 2020 report, titled Controls Over Meat, Poultry, and Egg Product
 5   Labels, indicated how unreliable these meat and poultry labels are, even if USDA has
 6   approved them:
 7
           As a result, meat, poultry, and egg product labels may reflect
 8         inaccurate       statements       and     claims       made       by
 9
           establishments. Additionally, there is reduced assurance that
           establishments’ generic labels meet requirements. Based on our
10         sample results, we estimated that approximately 2,038 (15.00 percent)
11         of the approved required labels and 161 (18.34 percent) of the
           approved generic labels may have one or more exceptions.43
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13                                                                                             Formatted: Justified
           E.     Whole Foods’ Awareness of Its Beef Product Suppliers’ Use of
14
                  Antibiotics
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           66.    In April 2022, Farm Forward notified Whole Foods that Farm Forward’s         Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
16                                                                                             Left + Aligned at: 0.5" + Indent at: 0"
     study had found antibiotic and pharmaceutical residue in Whole Foods’ Beef Products.
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     Specifically, on April 15, 2022, Farm Forward notified John Mackey, Whole Foods’ CEO,
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     of the results of Farm Forward and FoodID’s investigations discussed above.
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           67.    Mr. Mackey did not respond to Farm Forward. Instead, he unsubscribed from
20
     Farm Forward’s email list (after having been a board member and mailing list recipient
21
     for over a decade).
22
           68.    Knowledge of Farm Forward and FoodID’s studies within Whole Foods was
23
     not limited to Mr. Mackey. The FoodID study findings were the subject of conference
24
25
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26     Id. at 37.
27
     43
       USDA, Audit Report 24601-0002-23, https://www.usda.gov/sites/default/files/audit-
     reports/24601-0002-23.pdf, last visited November 28, 2022.
28
                           FIRST AMENDED CLASS ACTION COMPLAINT – 24
 1   calls with Whole Foods’ executive officers, including Anne Malleau, Executive Leader of
 2   Meat and Poultry.
 3         69.    Well before Science published the FoodID study and test results in April
                                                                                                  Deleted: monitoring
 4   2022, Whole Foods knew that it was not verifying its beef suppliers to determine if Whole
 5   Foods “No Antibiotics, Ever,” claim was true. In 2017, Farm Forward brought to Ms.
 6   Malleau’s attention a pharmaceutical testing method that Whole Foods could use to verify
 7   Whole Foods’ promises to consumer purchasers. Ms. Malleau dismissed the opportunity
 8   without proposing an alternative, stating in part:
                                                                                                  Formatted: Justified
 9                [I]nteresting concept; however, there’s no mention of #s for
10                statistical significance or # that’s practically relevant. I bring this
11                up because I’ve been approached with this concept or similar ones
12                and the risk management piece was not well thought out. One of

13
                  them had all of the risk being assumed by a retailer (and there’s no
                  way ANY retailer would sign onto that), the other was such
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                  insignificant numbers, and the repercussions for having a positive
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                  result were beyond ridiculous (meaning it was all a sham IMO)[.]
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           70.    Whole Foods officers have now been informed that its Beef Products tested       Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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     positive for pharmaceutical, including antibiotic, residue. Moreover, as early as 2017,
18                                                                                                Formatted: Bullets and Numbering
     Whole Foods had ready access to testing that could verify whether its Beef Products
19
     suppliers administered antibiotics or other pharmaceuticals. Despite its actual and
20
     constructive knowledge that cattle used in its Beef Products were raised with antibiotics
21
     and other pharmaceuticals, Whole Foods has continued its “antibiotic-free” promotional
22
     messaging.
23
           71.    Since at least 2017, Whole Foods has known of deficiencies in GAP’s ability
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     to verify whether the Beef Products were raised without antibiotics or other
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     pharmaceuticals. GAP, a separate entity, is not fully independent of Whole Foods. Instead,
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 25
 1   it was founded by Whole Foods in approximately 2008.44 It relies on monetary donations
 2   from its corporate partners, including Whole Foods,45 and the majority of GAP’s
 3   leadership consists of current or former Whole Foods employees.46 Anne Malleau, Whole
 4   Foods’ Executive Leader of Meat and Poultry for Whole Foods, who wrote the email
 5   quoted above, is the Executive Director of GAP.47
 6         72.   To obtain GAP certification, a meat producer must undergo an on-site audit
 7   of each farm every 15 months to verify compliance.48 Under GAP’s rules, meat producers
 8   cannot use antibiotics for “sub-therapeutic” use49 and “any animal treated with
 9   [antibiotics] cannot be marketed as GAP certified.”50 Yet, by 2017 at the latest, both GAP
10   and Whole Foods knew of shortcomings of these GAP audits.
11         73.   Nor would certification of certain Beef Products as USDA Organic
12   necessarily mean they were raised without antibiotics or other pharmaceuticals, or negate
13   Whole Foods’ actual and constructive knowledge that the Products in fact derive from
14
     44
15      See Glob. Animal P’ship, 2018 Impact Report 12 (2018), available at
     https://globalanimalpartnership.org/flipbook/2018-impact-report/?page=1, at 12.
16
     45
        See Changing the Way Food is Raised, Global Animal Partnership,
17   https://globalanimalpartnership.org/#:~:text=Global%20Animal%20Partnership%20is%
18   20one,and%20creating%20long%2Dlasting%20change. (last visited July 19, 2022);
     When it Comes to Retail, G.A.P. Means Business, Global Animal Partnership,
19   https://globalanimalpartnership.org/businesses/ (last visited July 19, 2022).
     46
20      Our Leadership, Global Animal Partnership,
     https://globalanimalpartnership.org/about/leadership/ (last visited Aug. 5, 2022).
21
     47
        See Anne Malleau, Linkedin.com, https://www.linkedin.com/in/annemalleau/ (last
22   visited July 19, 2022); see also Our Leadership, supra note 41.
23   48
        See G.A.P. Certification, Global Animal Partnership,
24
     https://globalanimalpartnership.org/certification/ (last visited July 12, 2022).
     49
        See Global Animal Partnership’s 5-Step Animal Welfare Pilot Standards for Dairy
25
     Cattle v1.0, Global Animal Partnership, https://globalanimalpartnership.org/wp-
26   content/uploads/2021/07/G.A.P.-5-Step-Standards-for-Dairy-Cattle-v1.0-20210707.pdf
     (last visited July 13, 2022).
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     50
        Id.
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 26
 1   cattle given antibiotics. As GAP itself recognizes, the USDA Organic program requires a
 2   sample of only about 10% of farms to be audited each year.51 Hence, many Beef Products
 3   receive the USDA Organic certification despite no testing.
 4         74.    At no point did Whole Foods obtain federal approval of its false and
 5   misleading statements. The federal government does not test any of Whole Foods’ Beef
 6   Products to determine if the cattle were raised with antibiotics or other pharmaceuticals.
 7   Whole Foods’ “No Antibiotics, Ever” slogan and “Animal Welfare Certified”
 8   representation violate 21 U.S.C. § 602, 9 C.F.R. § 317.8, and other federal laws prohibiting
 9   false or misleading marketing of food products because the Products so advertised are not
10   reliably free of antibiotics and other pharmaceuticals.
11         75.    Plaintiffs’ claims do not impose, directly or indirectly, any requirement with
12   regard to premises, facilities, or operations that is in addition to, or different than, the
13   requirements of any federal law or regulation. Nor do Plaintiffs’ claims impose, directly
14   or indirectly, any requirement with regard to marking, labeling, packaging, or ingredients
15   found by the USDA Secretary to unduly interfere with the free flow of beef products in
16   commerce, or that is in addition to, or different than, the requirements of any federal law
17   or regulation.
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18         F.     Consumer Plaintiffs and Class Members Overpaid as a Result of Whole
19                Foods’ False Advertising
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20         76.    Whole Foods’ misrepresentations and omissions described above have                Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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21   enabled Whole Foods to charge a significant premium for its Beef Products, some of
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22   which are sold for as much as $31.99 per pound.52 By way of example, in comparison,
23   similar beef products without antibiotic-free claims from other grocers sell for $24.99 per
24
25   51
       Glob. Animal P’ship, supra note 39, at 11.
26   52
       Beef Tenderloin Steak (Filet Mignon), Whole Foods Market,
27   https://www.wholefoodsmarket.com/product/meat-beef-tenderloin-steak-filet-mignon-
     b07811nqgn (last visited Aug. 5, 2022).
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 27
 1   pound.53
 2         77.    Consumer Plaintiffs and Class members were exposed to Whole Foods’
 3   representations at issue that falsely and misleadingly communicate that the cattle used in
 4   its Beef Products are raised without antibiotics or other pharmaceuticals.
 5         78.    Because of Whole Foods’ false advertising, Consumer Plaintiffs and Class
 6   members thought they were purchasing Beef Products derived from cattle raised without
 7   antibiotics or other pharmaceuticals, and reasonable consumers did not expect the Beef
 8   Products were derived from cattle so raised.
 9         79.    Absent Whole Foods’ misleading representations and omissions that its Beef
10   Products were raised antibiotic-free, Consumer Plaintiffs and Class members would not
11   have purchased the Products, or would not have purchased them at the price they paid.
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13         G.     Farm Forward Suffered Harm
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14         80.    Farm Forward, like other advocates of responsible practices, relies on            Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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15   honesty in marketing to perform work in furtherance of its organizational mission. In this
                                                                                                    Formatted: Bullets and Numbering
16   case, Farm Forward relied to its detriment on Whole Foods’ misleading advertising.
17   Because of Whole Foods’ misleading advertisements, resources that Farm Forward
18   expended to direct consumers to what it believed at the time were “better” and “best”
19   choice animal products did not advance Farm Forward’s goals. To the contrary, Whole
20   Foods’ misleading advertising caused Farm Forward to direct resources in support of the
21   very forms of farming that Farm Forward seeks to end. Farm Forward’s significant outlay
22   in costs to discover Whole Foods’ deceit has also caused Farm Forward financial harm in
23   the form of direct costs to investigate, uncover, and work to inform the public of the truth
24   about Whole Foods’ Beef Products, as described further below. Additionally, the
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26   53
       USDA Choice Beef Tenderloin Filet Mignon Steak, Safeway,
27   https://www.safeway.com/shop/product-details.188020017.html (last visited Aug. 5,
     2022).
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 28
 1   departure from Farm Forward’s longstanding anti-factory farming focus to expose and
 2   rectify this consumer deception has drained resources from its efforts to directly oppose
 3   and seek to curtail factory farming. For all these reasons, Farm Forward has expended
 4   significant resources addressing Whole Foods’ misinformation, which has resulted in the
 5   organization having fewer resources to devote to its mission of ending factory farming.
 6         81.     Farm Forward promotes constant improvement in farmed animal welfare
 7   practices in support of its mission to end factory farming. Farms with high welfare
 8   standards typically do not need to use routine (also known as subtherapeutic) antibiotics
 9   to treat illnesses or prevent diseases. As such, Farm Forward’s interest in meat presented
10   to consumers as having “No Antibiotics, Ever” aligns with promoting higher-welfare
11   husbandry practices. Antibiotics are most commonly administered to animals to prevent
12   or treat illness and disease contracted when animals are crowded into unsanitary factory
13   farm conditions—the kind of suboptimal animal welfare conditions Farm Forward works
14   to prevent.
15         82.     Since its inception in 2007 to 2020, Farm Forward helped develop, support
16   and promote GAP certified products, including products branded as Animal Welfare
17   Certified and with the promise “No Antibiotics, Ever.” Three Farm Forward staff
18   members and two Farm Forward board members donated extensive time—thousands of
19   hours—to working alongside Whole Foods on the GAP/Animal Welfare Certified
20   standards. Farm Forward staff attended dozens of GAP meetings, sometimes held at
21   Whole Foods’ headquarters in Austin, Texas, expending Farm Forward’s limited
22   resources to participate in these meetings, review pertinent materials, and actively
23   contribute to the decision-making processes that created the standards. Farm Forward also
24   spent hundreds of hours working with other public interest and animal protection groups
25   to improve the lives of animals in Whole Foods’ supply chain. Among other work, Farm
26   Forward spoke extensively with producers and visited farms that supply Whole Foods.
27         83.     During the decade in which Farm Forward served on GAP’s Board, members
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 29
 1   of the public sought guidance from Farm Forward on meat marketing claims. Farm
 2   Forward relied on Whole Foods’ representations to Farm Forward that Whole Foods sold
 3   GAP certified “No Antibiotics, Ever” meat, as well as Whole Foods’ representations of
 4   other attributes that indicated high welfare. Consequently, Farm Forward promoted Whole
 5   Foods’ meat products as “better” choices through a web-based consumer guide that Farm
 6   Forward, using its resources, created. Farm Forward spent its own money on this
 7   consumer guide that promoted Whole Foods products. In particular, Farm Forward listed
 8   Whole Foods’ GAP certified and Animal Welfare Certified products as “better choices”
 9   and “best choices” for consumers to “make a difference each time [they] visit the grocery
10   store.” Recommendation of select GAP certified “No Antibiotics, Ever” beef products,
11   sold primarily at Whole Foods, were also central to Farm Forward’s religious outreach
12   program, including its in-house program, the Jewish Initiative for Animals. This program
13   cost Farm Forward thousands of dollars.
14         84.   Farm Forward relied on Whole Foods’ representations that its meat
15   advertising, including with respect to GAP certification criteria, was accurate. Farm
16   Forward would not have devoted a significant portion of its resources to serving on GAP’s
17   Board, or to promoting meat sold at Whole Foods as “better” and “best” choices for
18   consumers, had it known that Whole Foods’ promotional messaging, such as its claims of
19   a “never ever antibiotics” meat supply, was misleading consumers.
20         85.   As Farm Forward continued working with Whole Foods over time, Farm
21   Forward began to suspect that Whole Foods was selling meat from producers that
22   administered antibiotics to the animals—contrary to Whole Foods’ marketing of that same
23   meat as Animal Welfare Certified and as having “No Antibiotics, Ever”—and contrary to
24   Farm Forward’s endorsement of that same meat to its supporters and the public as “better”
25   and “best” choices. Farm Forward acted on its suspicion by introducing the GAP-Whole
26   Foods leadership to an entity that could test the meat sold at Whole Foods and verify if
27   Whole Foods’ marketing claims were true. But the GAP-Whole Foods representative
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 30
 1   dismissed the proposal, noting that the concept had been raised before but that “risk
 2   management” had not been well thought out and all the risk would be assumed by the
 3   retailer (i.e., Whole Foods). Farm Forward understood from this response that Whole
 4   Foods was neither receptive to nor interested in investigating verification options. No one
 5   in the GAP-Whole Foods leadership suggested to Farm Forward an alternative means of
 6   testing or otherwise verifying Whole Foods’ claims.
 7         86.    After serving on GAP’s Board of Directors for a decade—within GAP’s first
 8   few years of existence—Farm Forward resigned in April 2020. It did so in large part
 9   because it suspected (as it ultimately concluded) that GAP’s Animal Welfare Certified
10   marketing, widely used by Whole Foods, was deceiving consumers, as well as due to
11   concerns that Whole Foods had too much control over GAP.
12         87.    Whole Foods’ marketing of meat as Animal Welfare Certified and having
13   “No Antibiotics, Ever” when, in fact, the meat comes from factory and other farms that
14   administer antibiotics to cattle, conflicted with Farm Forward’s endorsement of Whole
15   Foods’ meat—advertised as purportedly Animal Welfare Certified and having “No
16   Antibiotics, Ever”—as “better” and “best” choices for consumers. Whole Foods’
17   misrepresentations, both to Farm Forward and to the public, therefore directly undermined
18   Farm Forward’s activities to convince the public to make a “better choice” consistent with
19   Farm Forward’s mission to end factory farming.
20         88.    Farm Forward also experienced financial loss and disruption to its
21   organizational activities to address Whole Foods’ misrepresentations and omissions and
22   the consumer confusion they have engendered. Similarly, after Farm Forward concluded
23   it had been misled by Whole Foods, Farm Forward expended significant staff time and
24   organizational resources to address Whole Foods’ false advertising and to expose the
25   confusion and misimpressions among consumers that Whole Foods had caused and
26   continues to cause.
27         89.    In 2020, even though Whole Foods’ leadership had failed to avail itself of
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                           FIRST AMENDED CLASS ACTION COMPLAINT – 31
 1   opportunities to thoroughly test its Products, Farm Forward began testing Whole Foods’
 2   meat sold in San Francisco and other U.S. cities for pharmaceutical residues. Chemical
 3   testing can reliably show whether the meat comes from “No Antibiotics, Ever” higher
 4   welfare farms or from farms that administer antibiotics. Farm Forward spent at least
 5   $80,000 purchasing Whole Foods’ Products, shipping Products to testing laboratories, and
 6   paying laboratory-testing fees.
 7         90.    Farm Forward also expended significant resources on, among other efforts,
 8   understanding the impact of Whole Foods’ deceptive advertising and marketing on Farm
 9   Forward’s members, supporters, and social media followers, and Whole Foods’
10   consumers, and educating the public accordingly.
11         91.    To properly inform its members, supporters, and social media followers,
12   Farm Forward invested in and initiated a new campaign designed to expose Whole Foods’
13   (and other companies’) false advertising of meat. This significant departure from Farm
14   Forward’s work to end factory farming was nonetheless important to the organization and
15   its supporters, including because Farm Forward had promoted these products as “better
16   choices” for many years. Farm Forward has spent over 5,000 employee hours on this new
17   campaign to educate the public.
18         92.    Had Farm Forward not spent significant resources investigating Whole
19   Foods’ misrepresentations, and initiating a new campaign to educate the public, it would
20   have spent these resources on its “Pandemics and factory farming” campaign, which
21   would have included a new video, digital ads, media outreach, material production, and
22   conference attendance. Farm Forward put this campaign on hold, despite the fact that the
23   campaign was highly effective and the early campaign materials were viewed over a
24   million times on social media, in order to fund its Whole Foods investigation and new
25   educational campaign.
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26         93.    Farm Forward also surveyed consumers in September 2021 to determine           Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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27   whether consumers were being misled by Whole Foods. Farm Forward spent more than
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 32
 1   $12,000 on the survey; and it showed that up to 97% of American consumers are being
 2   misled by Whole Foods’ meat advertising claims.
 3         94.    Had Farm Forward not investigated and exposed Whole Foods’ false meat
 4   advertising claims, the organization would have suffered injury to its reputation, and lost
 5   the support of both the public and the highest welfare farmers and ranchers, many of whom
 6   had expressed frustration with Whole Foods, and frustration with Farm Forward for their
 7   ongoing support of GAP.
 8                                CLASS ACTION ALLEGATIONS
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 9         95.    Under Federal Rules of Civil Procedure 23(a), (b)(2), (b)(3), and/or (c)(4),      Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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10   Consumers Plaintiffs bring this lawsuit as a class action on behalf of themselves and all
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11   other persons similarly situated, on behalf of the following Class:                            Deleted: and Subclass
                                                                                                    Formatted: Condensed by 0.15 pt
12                    All persons who purchased a Beef Product from Whole
                                                                                                          Deleted: Class ¶
13                    Foods in California between 2017 and the present.                                   All persons in the United States who purchased a
                                                                                                          Beef Product from Whole Foods between 2017
14         96.    Excluded from the Class are Defendants, their officers, directors, and                  and the present.¶
                                                                                                          California Subclass¶
15   managerial employees, any individuals employed by counsel for the parties in this action,      Deleted: The Class and California Subclass are collectively
                                                                                                    referred to as “the Class.”
16   and any Judge to whom this case is assigned and their staff and immediate family               Deleted: Defendant Whole Foods, its
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17   members. Plaintiffs reserve the right to modify the Class definition(s) based on discovery     Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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18   and further investigation.
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19         97.    Numerosity. While the exact number of Class members is not known at this          Deleted: and Subclass definitions

20   time, the Class is so numerous that joinder of all members is impractical. Thousands of
21   Californians purchase Beef Products each week. The identities of Class members are
22   available through information and records in the possession, custody, or control of Whole
23   Foods; notice of this action can be readily given to the Class.
24         98.    Typicality. Consumer Plaintiffs’ claims are typical of the claims of the Class.
25   Consumer Plaintiffs, like all Class members, purchased at least one Beef Product from
26   Whole Foods in California since 2017, and were injured by the same wrongful acts,
27   practices, and omissions. Consumer Plaintiffs, like all Class members, were exposed to
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 33
 1   the same widespread marketing campaign and saw the same misrepresentations, including
 2   at the point of purchase. The claims of Consumer Plaintiffs thus arise from the same course
 3   of conduct that gives rise to the claims of every other Class member.
 4         99.    Adequacy of Representation. Consumer Plaintiffs are members of the Class
 5   and will fairly and adequately represent and protect the other members’ interests.
 6   Consumer Plaintiffs have no interests adverse to the interests of other Class members.
 7   Plaintiffs’ counsel are competent and experienced in consumer protection and other class
 8   action litigation and will pursue this action vigorously.
 9         100. Predominant Common Issues of Law and Fact. Common questions of fact
10   and law exist with respect to all Class members and predominate over any questions
11   affecting only individual members. The common questions include, without limitation:
                                                                                                     Formatted: Justified
12                a.     Whether Whole Foods advertised, marketed, promoted, and/or sold its
13   Beef Products as having “No Antibiotics, Ever”;
14                b.     Whether    Whole     Foods’    Beef     Products   were   antibiotic   or
15   pharmaceutical-free;
16                c.     Whether Whole Foods’ advertising campaign related to Beef Products
17   was unfair, unlawful, false, misleading and/or deceptive;
18                d.     Whether claims in Whole Foods’ advertising campaign related to Beef
19   Products were material;
20                e.     Whether Whole Foods knew or should have known that its Beef
21   Products were not antibiotic or pharmaceutical-free;
22                f.     Whether Whole Foods had a duty to disclose to consumers that its Beef
23   Products derived from cattle raised with antibiotics or other pharmaceuticals;
24                g.     Whether Whole Foods failed to disclose to consumers that its Beef
25   Products derived from cattle raised with antibiotics or other pharmaceuticals;
26                h.     Whether Whole Foods’ false advertising and deceit caused injury to
27   Consumer Plaintiffs and Class members; and
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 34
 1                i.       The amount by which Whole Foods’ false advertising and deceit
 2   inflated the prices that Consumer Plaintiffs and Class members paid for Beef Products.
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 3         101. Superiority. A class action is superior to all other alternatives for the fair and   Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 4   efficient adjudication of this controversy. Absent a class action, all or nearly all members
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 5   of the Class would have no effective remedy because their individual claims are far smaller
 6   than the cost of litigating them, making the filing of individual actions infeasible. Class
 7   treatment will conserve judicial resources, avoid waste and the risk of inconsistent rulings,
 8   and promote efficient adjudication before a single Judge.
 9         102. Whole Foods has acted or refused to act on grounds generally applicable to
10   the entire class, making injunctive and corresponding declaratory relief appropriate with
11   respect to the Class as a whole.
12                     TOLLING OF THE STATUTES OF LIMITATIONS
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13         103. All applicable statutes of limitations have been tolled by Whole Foods’              Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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14   fraudulent concealment and denial of the facts set forth in this complaint.
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15         104. Whole Foods was and remains under a continuing duty to disclose to
16   Plaintiffs and Class members its practice of marketing Beef Products derived from cattle
17   given antibiotics or other pharmaceuticals as “Animal Welfare Certified” and as
18   containing “No Antibiotics, Ever.”
19         105. As a result of Whole Foods’ fraudulent concealment, not until shortly before
20   this class action commenced could Plaintiffs and Class members have reasonably
21   discovered Whole Foods’ practice of marketing Beef Products derived from cattle given
22   antibiotics or other pharmaceuticals as “Animal Welfare Certified” and as containing “No
23   Antibiotics, Ever.”
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                           FIRST AMENDED CLASS ACTION COMPLAINT – 35
 1                                 FIRST CAUSE OF ACTION
 2                Violation of the Consumers Legal Remedies Act (“CLRA”),
 3                                  Cal. Civ. Code § 1750 et seq.
                                                                                                  Deleted: California Subclass
 4                       (By Consumer Plaintiffs on Behalf of the Class)
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 5         106. Plaintiffs incorporate and reallege the foregoing allegations of fact.            Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 6         107. Whole Foods is a “person” within the meaning of California Civil Code
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 7   sections 1761(c) and 1770 and provided “goods”—Beef Products—within the meaning of
 8   sections 1761(a) and 1770.
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 9         108. Consumer Plaintiffs and Class members are “consumers,” under California
10   Civil Code section 1761(d), because they bought the Products for personal, family, or
11   household purposes.
12         109. The conduct alleged in this complaint constitutes unfair methods of
13   competition and unfair and deceptive acts and practice in violation of the CLRA.
14         110. As alleged more fully above, the unlawful conduct includes Whole Foods’
                                                                                                  Deleted: California Subclass
15   false representations to Plaintiffs and Class members that the Beef Products are made from
16   cattle raised without antibiotics. Testing has shown the opposite is true—Whole Foods’
17   Beef Products were raised with antibiotics or other pharmaceuticals.
18         111. Whole Foods made false representations concerning the Beef Products in its
19   advertising and marketing materials at stores, in television advertisements, in online
20   materials, and on the products themselves, among other places.
21         112. By engaging in such conduct, Whole Foods has violated California Civil
22   Code sections 1770(a)(2), (a)(3), (a)(4), (a)(5), (a)(7), and (a)(9).
23         113. Whole Foods was under a duty to disclose that its Beef Products were not, in
24   fact, free of antibiotics or other pharmaceuticals because it made partial, materially
25   misleading representations about the Beef Products despite having superior knowledge of
26   their origins, nature, and history, including through communications with its suppliers.
27   Whole Foods’ duty to disclose that the cattle used in its Beef Products were raised with
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 36
 1   antibiotics or other pharmaceuticals arises in consequence of its “No Antibiotics, Ever”
 2   promotional campaign and “Animal Welfare Certified” marketing. Whole Foods has not
 3   qualified, clarified, or otherwise corrected its “No Antibiotics, Ever” and “Animal Welfare
 4   Certified” marketing even though the cattle raised for its Beef Products were given
 5   antibiotics and other pharmaceuticals.
 6          114. Whole Foods had ample means and opportunities to disclose to Plaintiffs and
                                                                                                    Deleted: California Subclass
 7   Class members that the cattle for its Beef Products were raised with antibiotics and other
 8   pharmaceuticals, including through in-store signage, product packaging, and online
 9   statements. Whole Foods did not disclose or otherwise qualify or correct its
10   misrepresentations.
11          115. Whole Foods’ relevant misrepresentations and omissions were material and
12   important to a reasonable consumer’s decision whether to purchase a Beef Product.
13          116. Each Consumer Plaintiff reasonably relied to their detriment upon Whole
14   Foods’ deceptive marketing of the Beef Products when they purchased those Products.
                                                                                                    Deleted: California Subclass
15          117. Consumer Plaintiffs and Class members would not have purchased the Beef
16   Products or would not have paid the prices they did, had they known that the cattle used
17   in the Beef Products were raised with antibiotics or other pharmaceuticals.
18          118. Plaintiffs seek injunctive relief in the form of an order requiring Whole Foods
19   to cease these deceptive acts and practices and to correct its misleading promotions related
20   to antibiotics use in the beef it sells.
21          119. Plaintiffs would like to buy Whole Foods’ Beef Producs in the future if and
22   when they are produced as advertised by Whole Foods. Plaintiffs do not currently intend
23   to do so because they cannot rely on the accuracy of Whole Foods’ representations in
24   deciding whether to purchase Whole Foods’ Beef Products, and Plaintiffs cannot
25   independently or easily determine whether the particular Beef Products are raised with
26   antibiotics.                                                                                   Formatted: Justified, Numbered + Level: 1 +
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27          120. Pursuant to California Civil Code section 1782(a), on their own behalf and         Left + Aligned at: 0.5" + Indent at: 0"
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                           FIRST AMENDED CLASS ACTION COMPLAINT – 37
 1   on behalf of the Class, each Consumer Plaintiff sent a CLRA notice letter to Whole Foods
 2   on August 23, 2022. These notices were sent via certified mail, return receipt requested,
                                                                                                 Deleted: advise
 3   to Whole Foods’ principal place of business. The notices advised Whole Foods that it is
 4   in violation of the CLRA and must remedy the conduct, representations, and omissions at
                                                                                                 Deleted: In the event the relief requested in these notices is
 5   issue. Whole Foods has not remedied the conduct, representations, and omissions at issue.   not provided within 30 days, Plaintiffs will amend this
                                                                                                 complaint to include a request for actual and punitive
 6         121. Consumer Plaintiffs and the Class seek damages pursuant to Cal. Civ. Code        damages under the CLRA

 7   § 1780(a) as result of Whole Foods’ use or employment of a method, act, or practice
 8   declared unlawful by Cal. Civ. Code § 1770. Consumer Plaintiffs and the Class seek to
 9   recover actual damages, compensatory damages, injunctive relief, restitution of property,
10   punitive damages, and any other relief that the Court deems proper. Pursuant to Cal. Civ.
11   Code § 1752, the CLRA provisions are not exclusive, and the remedies provided are in
12   addition to any other procedures or remedies for any violation or conduct provided for in
13   any other law.
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14         122. In accordance with California Civil Code section 1780(d), Consumer               Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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15   Plaintiffs’ CLRA venue declarations were submitted to the Court in ECF No. 12 (Safari)
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16   and 13 (Khaghani).                                                                          Deleted: declaration is attached as Exhibits A.

17                               SECOND CAUSE OF ACTION
18                    Violation of the Unfair Competition Law (“UCL”),
19                            Cal. Bus. & Prof. Code § 17200 et seq.
                                                                                                 Deleted: California Subclass,
20                        (By Consumer Plaintiffs on Behalf of the Class,
21                               and by Plaintiff Farm Forward)
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22         123. Plaintiffs incorporate and reallege the foregoing allegations of fact.           Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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23         124. Whole Foods engaged in unlawful, unfair, and or fraudulent acts and
                                                                                                 Formatted: Bullets and Numbering
24   practices violative of the UCL, California Business and Professions Code section 17200
25   et seq., by advertising its Beef Products as “No Antibiotics, Ever” and “Animal Welfare
26   Certified” when in fact, the cattle used in Whole Foods’ Beef Products were raised with
27   antibiotics or other pharmaceuticals.
28
                          FIRST AMENDED CLASS ACTION COMPLAINT – 38
 1         125. Whole Foods’ conduct is unlawful because it violates 21 U.S.C. § 602 and
 2   its implementing regulations, which deem food misbranded when its label contains a
 3   statement that is “false or misleading in any particular[.]” 21 U.S.C. § 601. Whole Foods’
 4   conduct also is unlawful because it violates 9 C.F.R. § 317.8 and related food regulations
 5   providing that “no product . . . shall bear any false or misleading marking[.]”
 6         126. Further, Whole Foods’ conduct is unlawful because it violates the CLRA,
 7   Cal. Civ. Code § 1750 et seq., and the False Advertising Law, California Business and
 8   Professions Code section 17500 et seq., for the reasons stated in the First and Third Causes
 9   of Action in this complaint.
10         127. Whole Foods’ conduct is unfair because, violating the legislative declared
11   public policy mandating truth in advertising, Whole Foods sells Beef Products raised with
12   antibiotics or other pharmaceuticals while advertising the Products as having “No
13   Antibiotics, Ever” and being “Animal Welfare Certified.”
14         128. Whole Foods’ conduct is unfair, moreover, because it is unethical,
                                                                                                    Deleted: California Subclass
15   oppressive, unscrupulous, and/or substantially injurious to Plaintiffs and Class members.
16   The harm to Plaintiffs resulting from Whole Foods’ conduct outweighs any legitimate
17   benefit Whole Foods derived from the conduct.
18         129. Consumer Plaintiffs could not reasonably have avoided injury as a result of
                                                                                                    Deleted: California Subclass
19   Whole Foods’ unfair, unlawful and fraudulent conduct. Consumer Plaintiffs and Class
20   members did not know, and had no reasonable means of discovering, that Whole Foods’
21   advertisements were false and misleading prior to purchasing a Beef Product.
22         130. Whole Foods’ misrepresentations and omissions with regard to the Beef
23   Products constitute fraudulent business practices in violation of the UCL because, among
24   other things, they are likely to deceive reasonable consumers. Among other falsehoods,
25   Whole Foods marketed its Products as having “No Antibiotics, Ever” and being “Animal
26   Welfare Certified” when in fact, cattle used in the Beef Products were raised with
27   antibiotics or other pharmaceuticals.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 39
 1         131. Consumer Plaintiffs reasonably relied to their detriment upon Whole Foods’
 2   unfair and fraudulent marketing of the Beef Products when they purchased those Products.
 3         132. All     of   Whole     Foods’    unlawful    and   unfair   conduct,   fraudulent
 4   misrepresentations, and inadequate disclosures occurred in the course of Whole Foods’
 5   business and were part of a generalized course of conduct. Whole Foods’ conduct at issue
                                                                                                    Deleted: California Subclass
 6   was designed to and did induce Consumer Plaintiffs and Class members to purchase a
 7   Beef Product.
 8         133. As a direct and proximate result of Whole Foods’ violations of the UCL,
 9   Plaintiffs suffered injury in fact. Farm Forward suffered financial harm and substantial
10   disruption to its organizational activities that precluded other work, as described above.
                                                                                                    Deleted: California Subclass
11   Consumer Plaintiff and Class members lost money or property because they would not
12   have purchased a Beef Product, or would not have paid the prices they did, had they known
13   that, contrary to Whole Foods’ promotional messaging, the cattle used in the Beef
14   Products were raised with antibiotics or other pharmaceuticals.
15         134. Plaintiffs lack an adequate remedy at law and seek restitution and injunctive
16   relief according to proof. Plaintiffs will ask the Court to order Whole Foods to cease these
17   acts of unfair competition and to correct its unfair, unlawful and fraudulent marketing
18   campaign related to antibiotics in the beef it sells.
19         135. Plaintiffs would like to buy Whole Foods’ Beef Producs in the future if and
20   when they are produced as advertised by Whole Foods. Plaintiffs do not currently intend
21   to do so because they cannot rely on the accuracy of Whole Foods’ representations in
22   deciding whether to purchase Whole Foods’ Beef Products, and Plaintiffs cannot
23   independently or easily determine whether the particular Beef Products are raised with
24   antibiotics.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 40
 1                                THIRD CAUSE OF ACTION
 2                      Violation of the False Advertising Law (“FAL”),
 3                            Cal. Bus. & Prof. Code § 17500 et seq.
                                                                                                  Deleted: California Subclass,
 4                       (By Consumer Plaintiffs on Behalf of the Class,
 5                                and by Plaintiff Farm Forward)
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 6         136. Plaintiffs incorporate and reallege the foregoing allegations of fact.            Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 7         137. Whole Foods publicly disseminated untrue or misleading advertising in
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 8   violation of the FAL, California Business and Professions Code section 17500 et seq.
 9         138. Whole Foods violates the FAL by using false and misleading statements, and
10   material omissions, to promote the sale of its Beef Products. Whole Foods represents
11   through advertisements, in-store signage, print advertisements, online content, and
12   product labeling that the Beef Products are made from cattle raised without antibiotics.
13   Those representations are false and misleading because the Beef Products are made from
14   cattle raised with antibiotics or other pharmaceuticals.
15         139. Consumer Plaintiffs reasonably relied to their detriment upon Whole Foods’
16   false and misleading advertising of the Beef Products when they purchased those Products.
17   The general public is and was likely to be deceived by Whole Foods’ false and misleading
18   advertising of the Beef Products as antibiotic-free.
19         140. As a direct and proximate result of Whole Foods’ false advertising, Plaintiffs
20   suffered injury in fact. Farm Forward suffered significant financial injury and disruption
21   to its organizational activities, as alleged in more detail above. Consumer Plaintiff and
                                                                                                  Deleted: California Subclass
22   Class members would not have purchased the Beef Products or would not have paid the
23   prices they did, had they known that the cattle used in the Beef Products were raised with
24   antibiotics or other pharmaceuticals.
25         141. Plaintiffs lack an adequate remedy at law and seek restitution and injunctive
26   relief according to proof.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 41
 1                               FOURTH CAUSE OF ACTION
 2             Violation of Cal. Com. Code § 2313 (breach of express warranty)
 3                      (By Consumer Plaintiffs on Behalf of the Class)
 4         142. Plaintiffs incorporate and reallege the foregoing allegations of fact.
 5         143. Defendants provided Plaintiffs and Class Members with an express warranty
 6   in the form of written affirmations of fact promising and representing that the Beef
 7   Products were raised without antibiotics, specifically stating, “No Antibiotics, Ever,” “No
 8   antibiotics or added growth hormones, ever,” and “At Whole Foods Market: No
 9   Antibiotics EVER is our standard.”
10         144. These affirmations in the paragraph above were not couched as “belief” or
11   “opinion,” and were not “generalized statements of quality not capable of proof or
12   disproof.”
13         145. These affirmations of fact became part of the basis for the bargain and were
14   material to the Plaintiffs’ and Class Members’ transactions.
15         146. Plaintiff and Class Members reasonably relied upon the Defendant’s
16   affirmations of fact and justifiably acted in ignorance of the material facts omitted or
17   concealed when they decided to buy Defendant’s Products.
18         147. Within a reasonable time after they knew or should have known of
19   Defendant’s breach, Defendants were placed on notice of its breach by the CLRA letter
20   Plaintiffs sent, giving Defendants an opportunity to cure its breach, which it did not do.
21         148. Defendants breached the express warranty because the Products are not “No
22   Antibiotics, Ever” products.
23         149. As a direct and proximate result of Defendants’ breach of express warranty,
24   Plaintiffs and Class Members were damaged in an amount to be proven at trial.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 42
                                                                                                 Moved (insertion) [3]
 1                                FIFTH CAUSE OF ACTION
 2                                     Unjust Enrichment
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 3                       (By Consumer Plaintiffs on Behalf of the Class)
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 4         150. Plaintiffs incorporate and reallege the foregoing allegations of fact.           Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 5         151. Consumer Plaintiffs and Class members conferred benefits on Whole Foods          next, Don't keep lines together

 6   by purchasing Beef Products, and Whole Foods acknowledged and appreciated these             Formatted: Bullets and Numbering
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 7   benefits.                                                                                   Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 8         152. The Beef Products that Consumer Plaintiffs and Class members purchased
 9   did not have the antibiotic-free characteristic that Whole Foods represented they had.
10   Contrary to Whole Foods’ representations, Beef Products it sells come from cattle raised
11   with antibiotics.
12         153. Under these circumstances, equity and good conscience militate against
13   permitting Whole Foods to retain the profits and benefits from its wrongful conduct. They
14   should accordingly be disgorged or placed in a constructive trust so that Consumer
15   Plaintiffs and Class members can obtain restitution.
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17                                SIXTH CAUSE OF ACTION
                                                                                                 Moved up [3]: FIFTH CAUSE OF ACTION¶
18                                  Fraudulent Concealment
                                                                                                 Deleted:
19     (By Consumer Plaintiffs on Behalf of the Class, and by Plaintiff Farm Forward)
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20         154. Plaintiffs incorporate and reallege the foregoing allegations of fact.           Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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21         155. Whole Foods fraudulently concealed and suppressed material facts regarding
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22   the Beef Products. Despite advertising these Products as Animal Welfare Certified and
23   having “No Antibiotics, Ever,” Whole Foods knew when it marketed and sold these
24   Products that the cattle from which they derive were raised with antibiotics or other
25   pharmaceuticals. Whole Foods failed to disclose these facts to consumers at the time it
26   marketed and sold the Products. Whole Foods knowingly and intentionally engaged in this
27   concealment to falsely assure consumers that its Beef Products were antibiotic-free in
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 43
 1   order to boost its sales, revenues, competitive position, and profits.
 2         156. Whole Foods’ fraudulent concealment was uniform across all Class
 3   members: Whole Foods concealed from all purchasers the fact that its meat suppliers
 4   administer antibiotics or other pharmaceutical to the cattle. Plaintiffs and Class members
 5   had no reasonable means of knowing that Whole Foods’ representations were false and
 6   misleading, or that Whole Foods had omitted to disclose material details relating to the
 7   Products. Plaintiffs and Class members did not and could not reasonably discover Whole
 8   Foods’ concealment on their own.
 9         157. Whole Foods had a duty to disclose that its Beef Products were not, in fact,
10   free of antibiotics or other pharmaceuticals because it made partial, materially misleading
11   representations about the Beef Products despite having superior knowledge of their
12   origins, nature, and history. Whole Foods’ duty to disclose that the cattle used in its Beef
13   Products were raised with antibiotics or other pharmaceuticals arises in consequence of its
14   “No Antibiotics, Ever” promotional campaign and “Animal Welfare Certified” marketing.
15   Whole Foods has neither qualified nor corrected its “No Antibiotics, Ever” and “Animal
16   Welfare Certified” marketing even though the cattle raised for its Beef Products were
17   given antibiotics and other pharmaceuticals.
18         158. These omitted and concealed facts were material because a reasonable
19   consumer would rely on them in deciding to purchase Whole Foods’ Beef Products and
20   because they substantially reduced the value of the Products that Consumer Plaintiffs and
21   Class members purchased. Whether Whole Foods’ Beef Products come from cattle raised
22   with antibiotics was an important factor in Consumer Plaintiffs’ and Class members’
23   decisions to purchase these Products. Consumer Plaintiffs and Class members relied on
24   Whole Foods’ misleading representations and concealment, trusting Whole Foods not to
25   sell them food that was not as represented.
26         159. Consumer Plaintiffs and Class members were unaware of these omitted
27   material facts and would have paid less for Beef Products, or would not have purchased
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 44
 1   them at all, had they known of the concealed and suppressed facts. Consumer Plaintiffs
 2   and Class members did not receive the benefit of their bargain due to Whole Foods’
 3   fraudulent concealment. Whole Foods was in exclusive control of the material facts and
 4   such facts were not reasonably known or knowable to the public, Plaintiffs, or Class
 5   members.
 6         160. Consumer Plaintiffs and Class members relied to their detriment upon Whole
 7   Foods’ fraudulent misrepresentations and material omissions regarding the Beef Products’
 8   nature and origins in deciding to purchase them.
 9         161. As a direct and proximate result of Whole Foods’ deceit and fraudulent
10   concealment, including its intentional suppression of the true facts, Consumer Plaintiffs
11   and Class members suffered damages in an amount to be proven at trial.
12         162. Whole Foods’ deceit and fraudulent concealment also caused financial injury
13   to Plaintiff Farm Forward as set forth above.
14         163. All Plaintiffs therefore seek injunctive relief to correct and prevent Whole
15   Foods’ fraudulent concealment relating to the nature and origins of its Beef Products.
16         164. In addition, Whole Foods’ fraudulent acts and omissions were carried out
17   maliciously, oppressively, deliberately, with intent to defraud, and in reckless disregard
18   of Plaintiffs’ and Class members’ rights, with the aim of enriching Whole Foods,
19   justifying an award of punitive damages in an amount sufficient to deter such wrongful
20   conduct in the future.
21                               SEVENTH CAUSE OF ACTION
22                                 Intentional Misrepresentation
23                            (By Consumer Plaintiffs on Behalf of the Class)
24         165. Plaintiffs incorporate and reallege the foregoing allegations of fact.
25         166. Defendant, with knowledge of the falsity of representations, materially and
26   intentionally misrepresented its Beef Products to consumers through its advertising and
27   communications, some of which are reproduced above.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 45
 1         167. Defendant, through company representatives who handled meat buying,
 2   marketing and communications, authorized, implemented, and coordinated the production
 3   and distribution of the aforementioned advertisements via in-store signage, television
 4   advertising, print advertising, email marketing, and online marketing including on Google,
 5   Facebook, YouTube, Twitter, Amazon Prime, and its own website and blog, with
 6   knowledge of their inclusion of intentional misrepresentations.
 7         168. These intentional misrepresentations include, but are not limited to:
 8         a) “No Antibiotics, Ever”
 9         b) “No antibiotics or added growth hormones, ever”
10         c) “At Whole Foods Market: No Antibiotics EVER is our standard”
11         169. These advertisements and intentional misrepresentations were made to
12   potential consumers, including Plaintiffs and the Class, throughout the time periods
13   referenced in ¶¶ 10-12 and 17-19, 2010-2022, and within the applicable statute of
14   limitations.
15         170. These advertisements and intentional misrepresentations were received and
16   viewed by Plaintiffs and the Class in Defendant’s stores and online.
17         171. Defendants intended to induce reliance in Plaintiffs and the Class when
18   Defendants misrepresented its Beef Products. Plaintiffs and the Class justifiably relied on
19   the accuracy of Defendants’ representations.
20         172. Defendants’ misrepresentations caused Plaintiffs and the Class to purchase a
21   product they would not have otherwise purchased and/or at a price that they would have
22   otherwise paid, resulting in damage to Plaintiffs and the Class.
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                        FIRST AMENDED CLASS ACTION COMPLAINT – 46
 1                                  JURY TRIAL DEMANDED
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 2          173. Plaintiffs and the Class respectfully seek a jury trial on all issues so triable.    Numbering Style: 1, 2, 3, … + Start at: 24 + Alignment:
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 3                                    PRAYER FOR RELIEF
                                                                                                      Formatted: Bullets and Numbering
 4          Consumer Plaintiffs, on behalf of themselves and the Class, respectfully ask that         Formatted: Justified

 5   the Court:
 6                A.     Certify the Class under Rule 23 of Federal Rules of Civil Procedures
 7   and appoint Consumer Plaintiffs and their undersigned counsel to represent the Class; and
 8                B.     Award active damages or restitution, statutory damages, compensatory
 9   damages, exemplary damages, punitive damages, and pre- and post-judgment interest as
10   provided by law.
11          All Plaintiffs, on behalf of themselves, the Class, and the general public, further ask
12   that the Court:
13                C.     Declare that Whole Foods violated California consumer protection
14   law;
15                D.     Enter injunctive relief through an Order, inter alia, enjoining Whole
16   Foods from continuing its unlawful, unscrupulous, misleading and deceptive practices and
17   mandating that Whole Foods undertake a corrective campaign of notification at its
18   expense;
19                E.     Award reasonable attorneys’ fees and costs of litigation as permitted
20   by law, including California Civil Code section 1780 and California Code of Civil
21   Procedure section 1021.5; and
22                F.     Order such other and further relief as may be just and proper.
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 47
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     DATED: November 29, 2022      Respectfully submitted,                 Deleted: August 23
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 2
                                   /s/ Paige M. Tomaselli                  Deleted:

 3                                 Paige M. Tomaselli (SBN 237737)         Formatted: Font: Not Italic
                                   Dylan D. Grimes (SBN 302981)
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                                   GRIME LAW LLP
 5                                 730 Arizona Avenue
                                   Santa Monica, CA 90401
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                                   Telephone: (310) 747-5095
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                                   dgrimes@grimelaw.com
 8

 9                                 Gretchen Elsner (pro hac vice)          Deleted: Adam E. Polk (SBN 273000)¶
                                                                           Jordan Elias (SBN 228731)¶
10                                 ELSNER LAW & POLICY, LLC                Simon Grille (SBN 294914)¶
                                   314 South Guadalupe Street, Suite 123   Jordan Isern (SBN 343159)¶
11                                                                         GIRARD SHARP LLP ¶
                                   Santa Fe, NM 87501                      601 California Street, Suite 1400 ¶
12                                 Telephone: (505) 303-0980               San Francisco, CA 94108 ¶
                                                                           Telephone: (415) 981-4800 ¶
                                   gretchen@elsnerlaw.org                  apolk@girardsharp.com¶
13                                                                         jelias@girardsharp.com¶
                                                                           sgrille@girardsharp.com ¶
14                                Attorneys for Plaintiffs                 jisern@girardsharp.com¶
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                    FIRST AMENDED CLASS ACTION COMPLAINT – 48
 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on November 29, 2022, I electronically filed the foregoing
 3   document using the Court’s CM/ECF system, which will send notification of the filing
 4   of this document to the e-mail addresses registered in the CM/ECF system, as denoted
 5   on the Electronic Mail Service List.
 6
 7
     Dated: November 29, 2022                     Respectfully submitted,

 8
                                                  /s/ Paige M. Tomaselli
 9
                                                  Paige M. Tomaselli (SBN 237737)
10                                                GRIME LAW LLP
                                                  730 Arizona Avenue
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                         FIRST AMENDED CLASS ACTION COMPLAINT – 1
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